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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
                Plaintiffs,                      )
                                                 )
vs.                                              )
                                                        No. 1:17-cv-00365-DAE-AWA
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
                Defendant.
                                                 )

             DECLARATION OF ZACHARY C. HOWENSTINE IN SUPPORT OF
                  DEFENDANT’S MOTION TO EXCLUDE PROPOSED
                EXPERT TESTIMONY OF DR. TERRENCE P. MCGARTY

        I, Zachary C. Howenstine, declare as follows:

        1.      I am licensed to practice law in the State of Missouri and am a partner at the law

firm of Armstrong Teasdale LLP. I am counsel of record for Defendant, Grande

Communications Networks LLC (“Grande”) in this suit filed by Plaintiffs UMG Recordings,

Inc., et al. (“Plaintiffs”). I have been admitted to practice in the Western District of Texas on a

pro hac vice basis pursuant to ECF No. 24 entered on May 23, 2017. I submit this declaration in

support of Defendant Grande’s Motion to Exclude the Proposed Expert Testimony of Dr.

Terrence P. McGarty. I have personal knowledge of the facts set forth below and if called upon

and sworn as a witness, I could and would competently testify to them.

        2.      Plaintiffs served the Expert Report of Dr. Terrence P. McGarty on Grande on July

13, 2018. A true and correct copy of that report is marked as Exhibit 1 and is the subject of

Grande’s contemporaneously-filed Motion for Leave to File under Seal.

        3.      The deposition of Dr. Terrence P. McGarty took place on November 1, 2018. A

true and correct copy of excerpts from the rough transcript of that deposition is marked as

                                                  1
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Exhibit 2 and is the subject of Grande’s contemporaneously-filed Motion for Leave to File under

Seal.


        I declare under penalty of perjury that the foregoing is true and accurate.


        Executed on November 15, 2018 in Princeton, NJ.


                                                              /s/     Zachary C. Howenstine_____
                                                                      Zachary C. Howenstine




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